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       ~0245E         	   (Rev. 12111) Judgment in a Criminal Case for Organizational Defendanlll
                          Sheet 1



                                                    UNITED STATES DISTRICT COUR1Un JUL-\                                                  · IQ! 33
                                                         SOUTHERN DISTRICT OF CALIFORNIA
                            UNITED STATES OF AMERICA
                                                  v. 	
                                                                                                    ~~~!~a~o: ~e~!::)INAL CASE @tf.>
                                                                                                                          ~~"!.--.---

                              JOEL I. BERNSTEIN, M,D., INC.
                                                                                                              CASE NUMBER: 13CRO JJ9-CAB

                                                                                                    CHARLES L. GOLDBERG AND CHARLES M. SEVILLA
                                                                                                    Defendant Organization's Attorney

      o
      THE DEFENDANT ORGANIZATION: 

      181pleaded guilty to count(s) ONE (I) OF THE ONE-COUNT INFORMATION 

      o         was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 after a plea of not guilty. 

                 Accordingly, the defendant organization is adjudged guilty of such count(s), which involve the following offense(s): 


                                                                                                                                         Count
      Title & Section                                  Nature of Offense                                                                Number(s)
18 USC 1347 and 2                         HEALTHCARE FRAUD AND AIDING AND ABETTING




                    The defendant organization is sentenced as provided in pages 2 through _ _-,,-5____ cf this judgment. 

      The sentence is imposed pursuant to the Sentencing Reform Act of 1984. 

      o The defendant organization has been found not guilty on count(s)-------------------------------------------
      o Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ __                            is D are D dismissed on the motion of the United States.
      181       Assessment: $400.00




      181                                                                   181   Forfeiture pursuant to order filed         2/1/2013    , included herein.
                See fme page 	
                                                                                                 ------------
                    IT IS ORDERED that the defendant organization shall notifY the United States Attorney for this district within 30 days of any
      change of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by
      this judgment are fully paid. If ordered to pay restitution, the defendant organization shall notifY the court and United States Attorney
      of any material change in the organization's economic circumstances.




                                                                                                     HaN. CATHY ANN BENCIVENGa 

                                                                                                     UNITED STATES DISTRICT JUDGE 



                                                                                                                       J3CRO 119-CAB
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  AO 245E      (Rev. 12(11) Judgment in a Criminal Case for Organizational Defendants
               Sheet 2 - Probation
                                                                                                                    Judgment-Page   2   of 5
   DEFENDANT ORGANlZA nON: JOEL I. BERNSTEIN, M.D., INC.
   CASE NUMBER: 13CRO lI9-CAB
                                                                          PROBATION

   The defendant organization is hereby sentenced to probation for a term of:
    ONE (I) YEAR, OR UNTIL THE CORPORATION IS DISSOLVED.

                                                            MANDATORY CONDITION

~ The defendant organization shall not commit another federal, state or local crime.




                 ~   If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant
            organization pay any such fine or restitution.




        ~ The defendant organization shall comply with the standard conditions that have been adopted by this court (set forth below).
    The defendant organization shall also comply with the additional conditions on the attached page.




                                                      STANDARD CONDITIONS OF SUPERVISION

       1) 	 within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to
            act as the organIzations's representative and to be the primary contact with the probation officer;
       2) 	 the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the 

            probation officer; 

       3) 	 the defendant organization shall notifY the probation officer ten days prior to any change in principal business or mailing
            address;
      4) 	the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
       5) 	the defendant organization shall notifY the probation officer within seventy-two hours of any criminal prosecution, major civi I
           litigation, or administrative proceeding against the organization;
       6) 	the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this 

           judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against 

           the defendant's successors or assignees; 

       7) 	 the defendant organization shall not waste, nor without permission of the probation officer, seJl, assign, or transfer its assets.




                                                                                                         13CROl19-CAB
          Case 3:13-cr-00119-CAB Document 20 Filed 07/01/13 PageID.143 Page 3 of 5

AO 245E     (Rev. 12/11)Judgment in a Criminal Case for Organizational Defendants
            Sheet 2 - Continued I     Probation
                                                                                             Judgment-Page   ~   of .......5"--_ _   

DEFENDANT ORGANIZATION: JOEL 1. BERNSTEIN, M.D., INC.                                                D
CASE NUMBER: 13CR01l9-CAB

                                        SPECIAL CONDITIONS OF SUPERVISION
1)   Subject corporate records and premises to search by the probation officer. 


2)   The corporation is required to have an effective program to prevent and detect violations oflaw. 





                                                                                           13CRO119-CAB
              Case 3:13-cr-00119-CAB Document 20 Filed 07/01/13 PageID.144 Page 4 of 5




AO 2455      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                               4 _ of
                                                                                               Judgment-Page _ _          5
DEFENDANT: JOEL 1. BERNSTEIN, M.D., INC.
CASE NUMBER: 13CROl19-CAB                                                               •
                                                                 FINE

      The defendant shall pay a fine in the amount of _ _ _$5_0_0_,0_0_0._0_0___unto the United States of America.




          This sum shall be paid __ immediately. 

                                  K as follows: 


           THE FINE IS PAYABLE FORTHWITH, OR DURING THE TERM OF PROBATION, AT THE RATE OF
           $10,417.00 PER MONTH (USSG Sec. 8C3.3(a)).




          The Court has determined that the defendant does not    have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                             13CROI19-CAB 

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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                               Judgment   Page _ _5 _ of
DEFENDANT: JOEL 1. BERNSTEIN, M.D., INC.                                                II
CASE NUMBER: 13CROI19-CAB
                                                      RESTITUTION

The defendant shall pay restitution in the amount of ___$_I_,7_8_0,_15_4_.9_7_ __ unto the United States of America.




          This sum shall be paid __ immediately. 

                                  IC as follows: 

           RESTITUTION SHALL BE PAID THROUGH THE CLERK OF THE U.S. DISTRICT COURT, TO THE CENTER
           FOR MEDICARE AND MEDICAID SERVICES, DIVISION OF ACCOUNTING OPERATION, 7500 SECURITY
           BOULEVARD, MAILSTOP C3-11-03, BALTIMORE, MD 21244.




      The Court has determined that the defendant   does not   have the ability to pay interest. It is ordered that:
    K        The interest requirement is waived.

             The interest is modified as follows:




                                                                                              13CROl19-CAB
